CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
                                        11/14/11  PagePage  1 ofPageID
                                                       4 of 16   13 PageID
                                                                       #: 13#: 28
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
                                        11/14/11  PagePage  2 ofPageID
                                                       5 of 16   13 PageID
                                                                       #: 14#: 29
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
                                        11/14/11  PagePage  3 ofPageID
                                                       6 of 16   13 PageID
                                                                       #: 15#: 30
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
                                        11/14/11  PagePage  4 ofPageID
                                                       7 of 16   13 PageID
                                                                       #: 16#: 31
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
                                        11/14/11  PagePage  5 ofPageID
                                                       8 of 16   13 PageID
                                                                       #: 17#: 32
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
                                        11/14/11  PagePage  6 ofPageID
                                                       9 of 16   13 PageID
                                                                       #: 18#: 33
Case 4:11-cv-00746-MHS-AM
   Case                    Document
         4:11-cv-00746 Document      6 Filed
                                4 Filed      11/14/11
                                        11/14/11  PagePage
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                                                                  13 PageID #: 34
                                                                        #: 19
Case 4:11-cv-00746-MHS-AM
   Case                    Document
         4:11-cv-00746 Document      6 Filed
                                4 Filed      11/14/11
                                        11/14/11  PagePage
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                                                                  13 PageID #: 35
                                                                        #: 20
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document      6 Filed
                                4 Filed      11/14/11
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                                                                   13 PageID #: 36
                                                                         #: 21
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
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                                                       13 of10
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                                                                  13 PageID
                                                                        #: 22#: 37
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
                                        11/14/11  PagePage
                                                       14 of11
                                                             16ofPageID
                                                                  13 PageID
                                                                        #: 23#: 38
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
                                        11/14/11  PagePage
                                                       15 of12
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                                                                  13 PageID
                                                                        #: 24#: 39
CaseCase
     4:11-cv-00746-MHS-AM  Document
         4:11-cv-00746 Document     6 Filed
                                4 Filed     11/14/11
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                                                                        #: 25#: 40
